2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 1 of 31
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2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 2 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 3 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 4 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 5 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 6 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 7 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 8 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 9 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 10 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 11 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 12 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 13 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 14 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 15 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 16 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 17 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 18 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 19 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 20 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 21 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 22 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 23 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 24 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 25 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 26 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 27 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 28 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 29 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 30 of 31
2:15-cr-20057-JES-JEH # 106   Filed: 12/20/16   Page 31 of 31
